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            10       WHATSAPP INC. and FACEBOOK, INC.

            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
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            14
                     WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                  CERTIFICATES OF SERVICE
            16

            17                       Plaintiffs,

            18             v.

            19       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            20
                                     Defendants.
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  COOLEY LLP
ATTO RNEY S AT LAW                                             1                        CERTIFICATES OF SERVICE
 SAN FRA NCI S CO                                                                     CASE NO. 3:19-CV-07123-JSC
                           Case 4:19-cv-07123-PJH Document 32 Filed 03/18/20 Page 2 of 2



              1             TO THE COURT AND ALL PARTIES OF RECORD:

              2             In accordance with Article 5 of the Hague Convention of 15 November 1965 on the Service

              3      Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, Plaintiffs

              4      WhatsApp Inc. and Facebook, Inc. effected service of the Summons, Complaint, and related

              5      documents on Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. on March

              6      12, 2020.

              7             Attached as Exhibit 1 and Exhibit 2 are true and correct copies of the Certificates of Service

              8      issued by the Central Authority in Israel, as well as Plaintiffs’ applications to the Central Authority

              9      for Hague service, which identify the documents that were served on both Defendants.

            10
            11       Dated: March 18, 2020                         Respectfully submitted,

            12                                                     COOLEY LLP

            13                                                     /s/ Travis LeBlanc
                                                                   Michael G. Rhodes
            14                                                     Travis LeBlanc
                                                                   Daniel J. Grooms
            15                                                     Kyle C. Wong
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            16
                                                                   Attorneys for Plaintiffs
            17                                                     WHATSAPP INC. and FACEBOOK, INC.

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ATTO RNEY S AT LAW                                                    -2-                          CERTIFICATES OF SERVICE
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
